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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:08CR53
                                             )
             Plaintiff,                      )
                                             )                  AMENDED
             vs.                             )              TENTATIVE FINDINGS
                                             )
PATRICIA LYNN JOHNSON,                       )
                                             )
             Defendant.                      )

      The Court has received the Revised Modified Presentence Investigation Report

(“PSR”) and the parties’ objections thereto (Filing Nos. 91, 95).1 See Order on Sentencing

Schedule, ¶ 6. The Court advises the parties that these Tentative Findings are issued with

the understanding that, pursuant to United States v. Booker, 543 U.S. 220 (2005), the

sentencing guidelines are advisory.

      The plea agreement reached under Federal Rule of Criminal Procedure 11(c)(1)(C)

is for a sentence of 5 years probation. The plea agreement does not address guideline

issues. The PSR applies a 4-level upward enhancement for an aggravating role in the

offense, and this adjustment precludes a sentence under the plea agreement if the advisory

guidelines are strictly applied. The parties’ arguments have been considered, and the

Defendant’s objections are granted. The total offense level is 7.

      IT IS ORDERED:

      1.     The Defendant’s objections to the PSR (Filing No. 91) are granted;

      2.     The government’s objections to the PSR (Filing No. 95) are granted;




      1
        These Amended Tentative Findings recognize the filing of the government’s
objections (Filing No. 95).
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       3.     Otherwise the Court’s tentative findings are that the Presentence Investigation

Report is correct in all respects;

       4.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       5.     Absent submission of the information required by paragraph 4 of this Order,

my tentative findings may become final; and

       6.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 3rd day of February, 2009.

                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          United States District Judge




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